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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MEDIATION REFERRAL ORDER
FOR CASES THAT INCLUDE

IN RE: FLSA PILOT PROGRAM CLAIMS UNDER THE FAIR
LABOR STANDARDS ACT 29
USS.C. § 201 ef seq.

 

 

ANDREW L. CARTER, JR., United States District Judge:

As part of a pilot program for cases involving claims under the Fair Labor Standards Act
(“FLSA”), 29 U.S.C, § 201 et seq., the Clerk of Court is directed to enter this order in all newly
filed FLSA cases on my docket. Since cases involving FLSA claims often benefit from early

mediation, it is hereby

ORDERED that prior to the case management conference pursuant to a Fed. R. Civ. P.
16(b) the Court is referring this case to mediation under Local Civil Rule 83.9 and that mediation

shall be scheduled within sixty days.

IT IS FURTHER ORDERED that to facilitate mediation the parties shall, within four
weeks of this Order, confer and provide the following:

1. Both parties shall produce any existing documents that describe Plaintiff's duties and
responsibilities.

2. Both parties shall produce any existing records of wages paid to and hours worked by
the Plaintiff (e.g., payroll records, time sheets, work schedules, wage statements and

wage notices).
3. Plaintiff shall produce a spreadsheet of alleged underpayments and other damages.
4, Defendants shall produce any existing documents describing compensation policies

or practices.
5. If Defendants intend to assert an inability to pay then they shall produce proof of
financial condition including tax records, business records, or other documents

demonstrating their financial status.

IT IS FURTHER ORDERED that in the event the parties reach settlement, pursuant to
Cheeks y. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir. 2015), they shall prepare a joint
statement explaining the basis for the proposed settlement, including any provision for attorney
fees, and why it should be approved as fair and reasonable. The settlement agreement and joint
statement shall be presented to the assigned District Judge, or to the assigned Magistrate Judge
should the parties consent to proceed for all purposes before the assigned Magistrate Judge (the
appropriate form for which is available at https://nysd.uscourts.gov/sites/default/files/2018-

06/AO-3.pdf).

 
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_ IT IS FURTHER ORDERED that, in the event the parties do not reach a settlement, they
shall promptly meet and confer pursuant to Fed. R. Civ. P. 26(f) in preparation for their initial
pretrial conference with the Court.

Counsel who have noticed an appearance as of the issuance of this order are
directed to notify all other parties’ attorneys in this action by serving upon each of them a
copy of this order. If unaware of the identity of counsel for any of the parties, counsel receiving
this order must send a copy of this order to that party directly.

Cle. CLA

ANDREW L. CARTER, JR.
United States District Judge

SO ORDERED.

Dated: December 10, 2019
White Plains, New York

 
